     Case 1:23-cv-00126-WES-PAS                    Document 65-1           Filed 09/16/24         Page 1 of 1 PageID #:
                                                          2736
Viviana Gonzalez Gomez

From:                  Mary Seguin <maryseguin22022@gmail.com>
Sent:                  Sunday, September 15, 2024 4:12 PM
To:                    RID_ECF_INTAKE
Subject:               23-cv-126 Plaintiff's Second Rule 62.1 Motion on Indicative Ruling on Rule 15(a) and 15(d) Motions to Add
                       Bivens Claims
Attachments:           Final 23-cv-126 Rule 62.1 motion on Rule 15(a) and 15(d) motions to add Bivens WITH EXHIBITS 091524.pdf

Categories:            Being Worked on VGG



CAUTION - EXTERNAL:


Dear Clerks of the Court,

Please find attached my Second Rule 62.1 Motion on Indicative Ruling on Rule 15(a) and 15(d) to add, among others,
Bivens claims.

Please docket, pursuant Fed. R. Civ. P 79.

Thank you in advance for your assistance.

Wish you a nice day.

Respectfully submitted,
Mary Seguin


CAUTION - EXTERNAL EMAIL: This email originated outside the Judiciary. Exercise caution when opening
attachments or clicking on links.




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